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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

Bryan Messenger
3:17-cv-03755

)

Civil Action No.

( ) (

 

 

Plaintiff(s),

. ORDER ADMITTING
v. : Martha M. Lafforty , ESQ.

 

National Board of Medical . PRO HAC VICE
Examiners .

Defendant(s).

 

This matter having been brought before the Court by

Martha M. Lafferty Bryan Messenger

Esq., counsel for , on

 

application for an Order allowing Martha M. Lafferty r

Esq., to appear and participate pro hac vice [Docket Entry No.

]; and the Court having considered the moving papers; and
this matter being considered pursuant to FEp. R. Civ. P. 78, and
for good cause shown;

IT IS on this day of , 20

ORDERED that Martha M. Lafferty , Esq., a member in good
standing of the Bar of the State(s) of Tennessee ,
be permitted to appear pro hac vice in the above-captioned matter
pursuant to L. Civ. R. 101.1(c); and it is further

ORDERED that, all pleadings, briefs, and other papers filed
with the Court shall be signed by a member or associate of the

f Clara R. Smit

law firm o , attorneys of

 

record for Bryan Messenger , who is admitted to the Bar
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of this Court and shall be held responsible for said papers and
for the conduct of the case and who will be held responsible for
the conduct of the attorney admitted hereby; and it is further

ORDERED that Martha M. Lafferty , Esq., shall pay
the annual fee to the New Jersey Lawyers’ Fund for Client
Protection in accordance with L. Civ. R. 101.1(c) (2) and New
Jersey Court Rule 1:28-2 within twenty (20) days from the date of
the entry of this order, unless previously paid for the current
calendar year; and it is further

ORDERED that Matha M. Lafferty , Esq., shall make
payment of $150.00 to the Clerk of the United States District
Court in accordance with L. Civ. R. 101.1(c) (3), as amended,
within twenty (20) days from the date of the entry of this Order;
and it is further

ORDERED that “Martha M. Lafferty , Esq., shall be
bound by the Rules of the United States District Court for the
District of New Jersey, including, but not limited to the
provisions of L. Civ. R. 103.1, Judicial Ethics and Professional
Responsibility, and L. Civ. R. 104.1, Discipline of Attorneys;
and it is further

ORDERED that Martha M. Lafferty , Esq., shall be deemed
to have agreed to take no fee in any tort case in excess of the
New Jersey State Court Contingency Fee Rule, Rule 1:21-7, as

amended; and it is further
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ORDERED that Martha M. Lafferty , Esq., may file a
request, the form of which is available at the Court's website,
with the Clerk of the Court for pro hac vice counsel to receive

electronic notifications in this matter.

 

UNITED STATES MAGISTRATE JUDGE
